                         Case 8:20-bk-00963-CPM              Doc 281       Filed 10/20/20   Page 1 of 2
                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA


                                           PRO MEMO

                                                                  10/20/2020 11:00 AM
                                                                  COURTROOM 8B
HONORABLE CATHERINE MCEWEN
CASE NUMBER:                                                      FILING DATE:
8:20-bk-00963-CPM                          7                           02/04/2020
Chapter 7
DEBTOR:                  Trail Management, LLC, (Delaware LLC with Assets in FLORIDA)


DEBTOR ATTY:           Amber Robinson
TRUSTEE:               Stephen Meininger
HEARING:
1-Motion to Compel the Chapter 7 Trustee, the Bankruptcy
Estate of Trail Management, LLC and occupant, Michael Kim, to
comply with Saddle Oak Estates Community Association, Inc.s
Homeowner Association covenants Filed by Melody D. Genson
(doc 256; Obj 278)
2-Second Motion For Sanctions for Violation of the Automatic
Stay under 11 U.S.C. Sec. 362(k). Filed by Eric D Jacobs,
Attorney for Trustee on behalf of Trustee Stephen L Meininger
(Doc #267; Obj 277)
3-Joinder in Chapter 7 Trustee's Second Motion for Willful
Violation of the Automatic Stay, Motion in the Alternative for Entry
of an Order Allowing State Court to Consider Motion to Dismiss,
and Motion for Entry of Order Allowing State Court to Consider
Sanctions Against Michael Kim Filed by Stephanie C Lieb on
behalf of Creditor Westwater Construction, Inc. (related
document(s)[267]). (Doc #268)
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APPEARANCES::
MELODY GENSON; STEPHANIE LIEB; MARK MILLER; ERIC JACOBS; MICHAEL KIM...

RULING:
1-Motion to Compel the Chapter 7 Trustee, the Bankruptcy
Estate of Trail Management, LLC and occupant, Michael Kim, to
comply with Saddle Oak Estates Community Association, Inc.s
Homeowner Association covenants Filed by Melody D. Genson
(doc 256; Obj 278).. DENIED WITHOUT PREJUDICE TO FILE A MOTION FOR RELIEF FROM STAY...BENCH ORDER....



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                        Case 8:20-bk-00963-CPM             Doc 281      Filed 10/20/20      Page 2 of 2
2-Second Motion For Sanctions for Violation of the Automatic
Stay under 11 U.S.C. Sec. 362(k). Filed by Eric D Jacobs,
Attorney for Trustee on behalf of Trustee Stephen L Meininger
(Doc #267; Joinder 268; Obj 277).. GRANTED; SANCTIONS AWARDED IN THE AMOUNT OF $1,839 PAYABLE TO THE
TRUSTEE, STEPHEN MEININGER; ANY CLAIMS OF THE BANKRUPTCY ESTATE ASSERTED BY KIM ARE NULL AND
VOID; COURT ACKNOWLEDGES LIS PENDENS WAS DISSOLVED; NO FURTHER PLEADINGS CAN BE FILED BY KIM
WITHOUT AN ATTORNEY; IF KIM FILES PLEADINGS THE COURT WILL STRIKE THEM AND NO FURTHER ACTION WILL
BE TAKEN ON THEM; STAY IS MODIFIED FOR WESTWATER TO DISPOSE OF SARASOTA CASE....ORDER BY JACOBS....




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Proposed Orders, if applicable, should be submitted within three days after the date of the hearing - Local Rule 9072-1(c). Orders
not submitted by the time of closing will result in motions/objections/applications being denied as moot. This docket
entry/document is not an official order of the Court.




                                  Case Number 8:20-bk-00963-CPM                       Chapter 7
